Trn−501 [Order Appointing Interim Trustee] (Rev. 09/15)


                                      United States Bankruptcy Court
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION


In re:                                                                             Case No. 17−82507−CRJ7
All Star Medical, LLC                                                              Chapter 7
                                                 EIN: 20−2642851


          Debtor(s)


                            ORDER APPOINTING INTERIM TRUSTEE AND
                                  APPROVING STANDING BOND
       It is ORDERED and notice is hereby given that:

      1. The following interim trustee is hereby appointed, and the trustee's standing bond is fixed under the general
blanket bond heretofore approved.



                                                     Tazewell Shepard
                                                   Tazewell Shepard, Trustee
                                                        PO Box 19045
                                                     Huntsville, AL 35804



       2. Unless the interim trustee files a rejection of this appointment within seven (7) days following receipt of
this order, the trustee will be deemed to have accepted this appointment as provided by Rule 2008.

Dated: February 20, 2019

                                                                /s/ Clifton R. Jessup Jr.
                                                                United States Bankruptcy Judge
rfl




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